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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     )
                                             )
                                             )
v.                                           )       Case No. 21-cr-00507 (PLF)
                                             )
STEPHANIE BAEZ                               )
                                             )
                      Defendant              )
                                             )




             MOTION TO VACATE TRIAL DATE AND CONTINUE TRIAL

       Defendant, Stephanie Baez by and through her counsel of record, John M. Pierce., files

this Motion to Continue Vacate Trial Date and Continue Trial in this matter, currently set to

begin November 29, 2022.

       On September 29, 2022, Defendant Baez filed a motion with this Court to continue her

trial date due to the need for a medical procedure that was unknown to her or counsel at the time

counsel and this Court set the November 29, 2022, trial date. Defendant Baez incorporates that

motion by reference. See EFC. No. 33.

       Defense Counsel Pierce has discussed this issue with Assistant United States Attorney

who indicated that the Government has no opposition to resetting the trial for Defendant Baez

due to Defendant Baez’s need for surgery. Both parties are agreeable to excluding time under

the Speedy Trial Act to and through the rescheduled trial date due to the unavailability of

Defendant Baez, and to maintain continuity of counsel on his behalf.

       Counsel’s staff reached out to the government this morning but was unable to confer this

morning, Oct. 3, 2022. (We will continue to seek to confer.) Defendant Baez would request the



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trial set for November 29, 2022 be vacated and tentatively reset for April 3rd 2023, pending on

the government’s schedule and availability.




Dated: October 3, 2022                        Respectfully Submitted,


                                              John M. Pierce
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                                              3rd Floor, PMB #172
                                              Woodland Hills, CA 91367
                                              Tel: (213) 400-0725
                                              Email: jpierce@johnpiercelaw.com
                                              Attorney for Defendant




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                                CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, October 3, 2022, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                             /s/ John M. Pierce
                                             John M. Pierce




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